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 About the Vessal of Opportunity Program
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             As part of BPs response to the Deepwater Horizon oil spill, the Vessels of Opportunity (VOO) program was designed and implemented to provide local boat operators an
     0       opportunity to assist with response activities, including transporting supplies, assisting wildlife rescue and deploying containment and sorbent boom.
   tweets
             To qualify for the program, boat operators and crew must meet several key requirements, including completing four hours of training, passing a U.S. Coast Guard
   tweet     dockside examination and meeting crewing requirements based on vessel size. Vessels must also be certified as safe, which may include inspection prior to activation.

 Once qualified and selected for use, vessel operators and crew will be compensated for their assistance. Qualification alone, however, does not guarantee participation.

 Vessel Participation and Payment

 Only vessel captains and employees that have completed training and meet the requirements are eligible to work in the BP Vessels of Opportunity program. The vessel owner does
 not need to be the operator or part of the crew. Owners and captains will receive a phone call when they are selected for hire.

 Once a vessel is selected, the owner, captain and crew will be paid at pre-agreed rates based on the vessel length. In addition to a daily base amount, each will be eligible for
 additional compensation based upon the vessels scheduling.

 In general, crews on vessels scheduled for day-work will receive eight hours of pay and crews on vessels scheduled to perform nighttime operations will be paid for 12 hours of work.
 If vessels are scheduled and are not used, the day rate will still be paid.

 Payment will only be made after notification is provided to a vessel and the vessel reports for duty as requested.

 Training and Participation

 At this time, the need for additional vessels is limited. When new opportunities become available, residents will be notified of new training/induction sessions. These sessions are for
 vessel owners, captains and crews and will be posted on www.restorethegulf.gov. In the meantime, commercial boat owners are encouraged to continue their ordinary routines
 and/or file a claim for commercial losses if their business has been impacted by the Deepwater Horizon oil spill.

 Louisiana vessels who have been activated and have not received further guidance through a follow-up telephone can call 985-493-7840 for a status update.

 Once activated, owners and deck hands must staff the vessel at all times. If someone is a back-up deck hand, that person can work on another job while not on the payroll.

 If an activated vessel breaks down because of assigned work, BP will arrange or pay for repairs.

 After a vessel finishes its assigned deployment, it will be decontaminated completely.




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                                                                                                                      Press Release, Unified Command's Joint Information Center,
                                                                                                                      About the Vessel of Opportunity Program (Sept. 17, 2010),
                                                                                                                      available at
                                                                                                                      http://www.restorethegulf.gov/release/2010/09/17/about-vessal
                                                                                                                      -opportunity-program (last visited Feb 27, 2011).


http://www.restorethegulf.gov/release/2010/09/17/about-vessal-opportunity-program                                                                                          2/28/2011
